
679 S.E.2d 393 (2009)
STATE of North Carolina
v.
Keith Lavoris HALL.
No. 14P09.
Supreme Court of North Carolina.
June 17, 2009.
Nora H. Hargrove, for Hall.
Jonathan Babb, Special Deputy Attorney General, Locke Bell, District Attorney, for State of NC.
Prior report: ___ N.C.App. ___, 669 S.E.2d 30.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 6th day of January 2009 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 17th day of June 2009."
Upon consideration of the petition filed on the 6th day of January 2009 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 17th day of June 2009."
